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                                                                                                         IN THE UNITED STATES DISTRICT COURT
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                                                                         9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                                                                         11   TECHNOLOGY LICENSING COMPANY,                        No. C 04-4572 MMC MED
United States District Court




                                                                              INC.,
                                                                         12                                                        ORDER OF DISMISSAL
                               For the Northern District of California




                                                                                            Plaintiff,
                                                                         13     v.
                                                                         14   ONKYO U.S.A. CORPORATION,
                                                                         15                 Defendant
                                                                                                                              /
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                                                                         17          The parties having advised the Court that they have agreed to a settlement of the
                                                                         18   above-titled action,
                                                                         19          IT IS HEREBY ORDERED that said action be dismissed without prejudice; provided,
                                                                         20   however, that if any party hereto shall certify to this Court, within ninety days, with proof of
                                                                         21   service of a copy thereon on opposing counsel, that the agreed consideration for the
                                                                         22   settlement has not been delivered, the foregoing Order shall stand vacated and the action
                                                                         23   shall forthwith be restored to the calendar to be set for trial.
                                                                         24          IT IS SO ORDERED.
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                                                                              Dated: May 18, 2005                                    /s/ Maxine M. Chesney
                                                                         26                                                          MAXINE M. CHESNEY
                                                                                                                                     United States District Judge
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